Case 3:23-cv-03417-VC    Document 395-9   Filed 01/15/25   Page 1 of 6




                        Exhibit 8
Case 3:23-cv-03417-VC   Document 395-9   Filed 01/15/25   Page 2 of 6
Case 3:23-cv-03417-VC   Document 395-9   Filed 01/15/25   Page 3 of 6
Case 3:23-cv-03417-VC   Document 395-9   Filed 01/15/25   Page 4 of 6
Case 3:23-cv-03417-VC   Document 395-9   Filed 01/15/25   Page 5 of 6
Case 3:23-cv-03417-VC   Document 395-9   Filed 01/15/25   Page 6 of 6
